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                                                                                          U.S.NDISTRICT COURT
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION
                                                                                                            DEPCLERK



Sue Bridges,

                        Plaintiff,                    Civil Action No.:   q~It ( vaolo-~L 1-f
        v.
                                                      COMPLAINT AND DEMAND FOR
Humana Inc.,                                        : JURYTRIAL

                        Defendant.                  ; This case aniped to District Judg«ti         l:h>\rn-0
                                                    '. and to Magistrate J.~dge         .          .l-ftt ((i \   .


                                           COMPLAINT

        For this Complaint, Plaintiff, Sue Bridges, by undersigned counsel, states as follows:

                                          JURISDICTION

        1.      This action arises out of Defendant's repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the "TCPA").

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business in this District and a substantial portion of the acts giving rise to this action

occurred in this District.

                                              PARTIES

        3.      Plaintiff, Sue Bridges ("Plaintiff'), is an adult individual residing in Benton,

Arkansas, and is a "person" as defined by 47 U.S.C. § 153(39).

        4.      Defendant Humana Inc. ("Humana"), is a Kentucky business entity with an

address of 500 West Main Street, Louisville, Kentucky 40202, and is a "person" as defined by 47

U.S.C. § 153(39).
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                                              FACTS

         5.     In 2016, Humana began calling Plaintiff's cellular telephone, number 501-xxx-

4419, using an automatic telephone dialing system ("ATDS" or "predictive dialer") and/or using

an artificial or prerecorded voice.

         6.     When Plaintiff answered calls from Humana, she heard a prerecorded message

about "important updates."

         7.     In or around October 2016, Plaintiff spoke with Humana and requested that all

calls to her cease.

         8.     Nevertheless, Humana continued to place automated calls to Plaintiff's cellular

telephone number.

                                          COUNT I
                                 VIOLATIONS OF THE TCPA-
                                    47 U.S.C. § 227, et seq.

         9.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

         10.    At all times mentioned herein, Defendant called Plaintiff's cellular telephone

number using an ATDS or predictive dialer and/or using a prerecorded or artificial voice.

         11.    Defendant continued to place automated calls to Plaintiff's cellular telephone

number despite knowing that it lacked consent to do so. As such, each call placed to Plaintiff

was made in knowing and/or willful violation of the TCP A, and subject to treble damages

pursuant to 47 U.S.C. § 227(b)(3)(C).

         12.    The telephone number called by Defendant was assigned to a cellular telephone

service for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(l).

         13.    Plaintiff was annoyed, harassed and inconvenienced by Defendant's continued

calls.

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       14.    The calls from Defendant to Plaintiff were not placed for "emergency purposes"

as defined by 47 U.S.C. § 227(b)(l)(A)(i).

       15.    Plaintiff is entitled to an award of $500.00 in statutory damages for each call

placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

       16.    Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00

pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                  1. Statutory damages of $500.00 for each violation determined to be negligent

                      pursuant to 47 U.S.C. § 227(b)(3)(B);

                  2. Treble damages for each violation determined to be willful and/or knowing

                      pursuant to 47 U.S.C. § 227(b)(3)(C); and

                  3. Such other and further relief as may be just and proper.

                      TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: March 27, 2017




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                                             Attorneys for Plaintiff




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